                           Case 4:13-cr-00258-KGB Document 68 Filed 09/06/14 Page 1 of 4
A02458        (Rev. 09/ll) Judgment in a Criminal Case
              Sheet l



                                           UNITED STATES DISTRICT COURT SEP 06 2014
                                                            . . of Arkansas
                                                   Eastern Dtstrict         JAME~~
                                                                            By:. JN ·~
             UNITED STATES OF AMERICA                                     )
                                                                          )
                                                                                   JUDGMENT IN A CRIMINAL C SEDEP                                .
                                  v.                                      )
                     FIL.ADELFO JIMENEZ                                   )
                                                                          )        Case Number: 4:13CR00258-01 KGB
                                                                          )        USM Number: 27936-009
                                                                          )
                                                                          )        Jack Kearney
                                                                                   Defendant's Attorney
THE DEFENDANT:
Itpleaded guilty to count(s)           1
                                    ----------------------------------------------------------------------
0 pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended
21 U.S.C. §841 (a)(1)              Conspiracy to Possess with Intent to Distribute                           8/15/2013                    1

 and (b)(1)(A) and 846             Methamphetamine, a Class A Felony



       The defendant is sentenced as provided in pages 2 through          __4___ ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

DCount(s)                                                Dis      Dare dismissed on the motion of the United States.
               -----------------------
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenClant must notifY the court and United States attorney of material changes in economic circumstances.

                                                                              9/4/2014
                                                                          Date oflmposition of Judgment




                                                                          Signaiure of Judge
                                                                                               1                                                      ,

                                                                              Kristine G. Baker                         U. S. District Judge
                                                                          Name and Title of Judge




                                                                          Date
                             Case 4:13-cr-00258-KGB Document 68 Filed 09/06/14 Page 2 of 4
AO 2458       (Rev. 09/11) Judgment in Criminal Case
              Sheet 2 - Imprisonment

                                                                                                     Judgment- Page   -=2- of   4
DEFENDANT: FILADELFO JIMENEZ
CASE NUMBER: 4:13CR00258-01 KGB


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 57 months




    ilf The court makes the following recommendations to the Bureau of Prisons:
 The Court recommends: 1) defendant receive educational and vocational training and non-residential drug treatment during
 incarceration and 2) defendant be incarcerated in Texarkana FCI. The defendant shall not possess a firearm, ammunition,
 destructive device, or any other dangerous weapon and shall cooperate in the collection of DNA at USPO direction.

    ilf The defendant is remanded to the custody of the United States Marshal.
    0     The defendant shall surrender to the United States Marshal for this district:

          0     at                                     D a.m.    0   p.m.    on

          0     as notified by the United States Marshal.

    0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          0     before 2 p.m. on

          0     as notified by the United States Marshal.

          0     as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                            By -----~==~~==~==~~~~-----
                                                                                     DEPUTY UNITED STATES MARSHAL
                          Case 4:13-cr-00258-KGB Document 68 Filed 09/06/14 Page 3 of 4
AO 2458    (Rev. 09/ll) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                                              3_ of
                                                                                                             Judgment- Page _ _             4
DEFENDANT: FILADELFO JIMENEZ
CASE NUMBER: 4:13CR00258-01 KGB
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                              Fine                                     Restitution
TOTALS             $ 100.00                                                $ 0.00                               $ 0.00



 0   The determination of restitution is deferred until
                                                        ---
                                                            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 0   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless s~cified otherwise in
     the priori~ order or percentage payment column below. However, pursuant to I8 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                                  Total Loss*           Restitution Ordered Priority or Percentage




 TOTALS                               $ - - - - - - - 0.00
                                                      --                            $ - - - - - - - - - - - - -0.00
                                                                                                                ---


 0    Restitution amount ordered pursuant to plea agreement $
                                                                               -------------------
 0    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to I8 U.S.C. § 36I2(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to I8 U.S.C. § 36I2(g).

 0    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      0    the interest requirement is waived for the           0       fine    0   restitution.

      0    the interest requirement for the           0   fme       0     restitution is modified as follows:



 * Findings for the total amount oflosses are required under Chapters 109A, 110, II OA, and Il3A of Title I8 for offenses committed on or after
 Septemoer 13, I994, but before April23, I996.
                          Case 4:13-cr-00258-KGB Document 68 Filed 09/06/14 Page 4 of 4
AO 2458    (Rev. 09/ll)Judgment in a Criminal Case
           Sheet 6- Schedule of Payments
                                                                                                          Judgment- Page _     __,_4_ of          4
DEFENDANT: FILADELFO JIMENEZ
CASE NUMBER: 4:13CR00258-01 KGB

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri{ Lump sum payment of$ _10_0_._0_0____ due immediately, balance due
           D     not later than _ _ _ _ _ _ _ _ _ _ , or
           D     in accordance     D C, D D,     D    E, or                  D F below; or

B     D    Payment to begin immediately (may be combined with             DC,         D D, or      D F below); or

C     D    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                             over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                          over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    D    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone~ penalties is due during
 imprisonment. All cnminal monetary ~nalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defondant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
